Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.756 Filed 01/31/22 Page 1 of 43




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

 ANTHONY EID, an individual,

       Plaintiff,

 v.
                                                       Case No: 20-cv-11718
 WAYNE STATE UNIVERSITY,
 WAYNE STATE UNIVERSITY                                Hon. Gershwin A. Drain
 SCHOOL OF MEDICINE,                                   Mag. Judge David R. Grand
 NIKOLINA CAMAJ, MARGIT
 CHADWELL, MATT JACKSON,
 RICHARD S. BAKER, and
 R. DARIN ELLIS, in their individual and
 official capacities, jointly and severally,

       Defendants.
                                                                                     /
 Mark C. Rossman (P63034)                      KIENBAUM HARDY VIVIANO
 Elizabeth M. Vincent (P76446)                  PELTON & FORREST, P.L.C.
 ROSSMAN, P.C.                                 By: Elizabeth Hardy (P37426)
 Attorneys for Plaintiff                           David A. Porter (P76785)
 2145 Crooks Road, Suite 220                   Attorneys for Defendants
 Troy, MI 48084                                280 N. Old Woodward Ave., Suite 400
 (248) 385-5481                                Birmingham, MI 48009
 mark@rossmanpc.com                            (248) 645-0000
 liz@rossmanpc.com                             ehardy@khvpf.com
                                               dporter@khvpf.com
 J. Robert Flores
 Attorney for Plaintiff
 10410 Hampton Road
 Fairfax Station, VA 22039
 (703) 609-8731
 rfloresesq@verizon.net
                                                                                     /

                    Defendants’ Motion for Summary Judgment
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.757 Filed 01/31/22 Page 2 of 43




      Defendants Wayne State University, Wayne State University School of

Medicine, Nikolina Camaj, Margit Chadwell, Matt Jackson, Richard S. Baker, and

R. Darin Ellis request that this Court enter summary judgment in their favor under

Federal Rule of Civil Procedure 56 and dismiss Plaintiff’s amended complaint with

prejudice. In support of their motion, Defendants rely on their accompanying brief

and the attached exhibits and declarations.

      On January 26, 2022, Defendants’ counsel sought concurrence in this motion

from Plaintiff’s counsel, explaining the nature of the motion and its legal basis.

Plaintiff’s counsel did not concur, necessitating this motion.

                                       KIENBAUM HARDY VIVIANO
                                       PELTON & FORREST, P.L.C.

                                       By:   /s/ Elizabeth Hardy
                                           Elizabeth Hardy (P37426)
                                           David Porter (P76785)
                                       Attorneys for Defendants
                                       280 N. Old Woodward Ave., Suite 400
                                       Birmingham, MI 48009
                                       (248) 645-0000
                                       ehardy@khvpf.com
Dated: January 31, 2022                dporter@khvpf.com
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.758 Filed 01/31/22 Page 3 of 43




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

 ANTHONY EID, an individual,

       Plaintiff,

 v.
                                                       Case No: 20-cv-11718
 WAYNE STATE UNIVERSITY,
 WAYNE STATE UNIVERSITY                                Hon. Gershwin A. Drain
 SCHOOL OF MEDICINE,                                   Mag. Judge David R. Grand
 NIKOLINA CAMAJ, MARGIT
 CHADWELL, MATT JACKSON,
 RICHARD S. BAKER, and
 R. DARIN ELLIS, in their individual and
 official capacities, jointly and severally,

       Defendants.
                                                                                     /
 Mark C. Rossman (P63034)                      KIENBAUM HARDY VIVIANO
 Elizabeth M. Vincent (P76446)                  PELTON & FORREST, P.L.C.
 ROSSMAN, P.C.                                 By: Elizabeth Hardy (P37426)
 Attorneys for Plaintiff                           David Porter (P76785)
 2145 Crooks Road, Suite 220                   Attorneys for Defendants
 Troy, MI 48084                                280 N. Old Woodward Ave., Suite 400
 (248) 385-5481                                Birmingham, MI 48009
 mark@rossmanpc.com                            (248) 645-0000
 liz@rossmanpc.com                             ehardy@khvpf.com
                                               dporter@khvpf.com
 J. Robert Flores
 Attorney for Plaintiff
 10410 Hampton Road
 Fairfax Station, VA 22039
 (703) 609-8731
 rfloresesq@verizon.net
                                                                                     /

      Brief in Support of Defendants’ Motion for Summary Judgment
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.759 Filed 01/31/22 Page 4 of 43




                                           TABLE OF CONTENTS

TABLE OF CONTENTS ........................................................................................... i

INDEX OF AUTHORITIES.................................................................................... iii

ISSUES PRESENTED........................................................................................... viii

CONTROLLING AUTHORITY ...............................................................................x

INTRODUCTION .....................................................................................................1

FACTS .......................................................................................................................2

        Professionalism at the School of Medicine .........................................................2

        The School Learns of Eid’s Unprofessional Behavior ........................................3

        Camaj Interviews Eid and Roe and Sends a Summary to the School .................6

        The Professionalism Committee Recommends Eid’s Dismissal ........................8

        The Promotions Committee Dismisses Eid .......................................................10

        The Provost Concludes Eid was Afforded Due Process ...................................14

        Eid Sues and Reinforces the School’s Professionalism Assessment ................15

LEGAL STANDARD ..............................................................................................15

ARGUMENT ...........................................................................................................16

   I.        Sovereign immunity bars the bulk of Eid’s claims for relief.....................16

   II.       Defendants are entitled to summary judgment on Eid’s due process
             claim. ..........................................................................................................17

           A.      Eid lacks a protected liberty or property interest and, regardless,
                   he was given more process than is required for academic
                   dismissals.............................................................................................17

           B.      Eid’s substantive due process claim fails as a matter of law. .............21


                                                               i
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.760 Filed 01/31/22 Page 5 of 43




          C.      The individual Defendants are entitled to qualified immunity
                  from Eid’s due process claim. .............................................................22

   III.     Eid’s Title IX fails because there is no evidence that gender
            influenced the Promotions Committee’s decision. ....................................23

          A.      Eid’s “selective enforcement” claim fails for lack of a proper
                  comparator. ..........................................................................................24

          B.      Eid’s “erroneous outcome” theory fails because he admitted to
                  the underlying misconduct and there is no causal connection
                  between his dismissal and gender bias. ...............................................24

   IV.      Eid’s equal protection claim fails for lack of a proper comparator. ..........26

   V.       The University is entitled to summary judgment on Eid’s state-law
            promissory estoppel claim..........................................................................26

   VI.      Eid’s fair and just treatment claim fails because the provision does
            not apply to the University and, regardless, Eid was treated fairly. ..........27

   VII. Eid’s emotional distress claim is barred by governmental immunity
        and fails on the facts in any event. .............................................................28

CONCLUSION ........................................................................................................29




                                                           ii
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.761 Filed 01/31/22 Page 6 of 43




                                     INDEX OF AUTHORITIES

Cases

Al-Dabagh v. Case W. Rsrv. Univ.,
  777 F.3d 355 (6th Cir. 2015) ......................................................................... 21, 22

Anderson v. Liberty Lobby, Inc.,
  477 U.S. 242 (1986) .............................................................................................17

Bd. of Curators of Univ. of Mo. v. Horowitz,
  435 U.S. 78 (1978) ....................................................................................... passim

Beischel v. Stone Bank Sch. Dist.,
  362 F.3d 430 (7th Cir. 2004) ................................................................................20

Bishop v. Wood,
  426 U.S. 341 (1976) .............................................................................................20

Brosseau v. Haugen,
  543 U.S. 194 (2004) .............................................................................................28

By Lo Oil Co. v. Dep't of Treasury,
  703 N.W.2d 822 (Mich. Ct. App. 2005) ..............................................................37

Celotex Corp. v. Catrett,
 477 U.S. 317 (1986) .............................................................................................17

Courser v. Allard,
 969 F.3d 604 (6th Cir. 2020) ................................................................................36

Courser v. Michigan House of Representatives,
 831 F. App'x 161 (6th Cir. 2020) .........................................................................38

Cuddihy v. Wayne State Univ.,
 413 N.W.2d 692 (Mich. Ct. App. 1987) ....................................................... 20, 36

Curto v. Smith,
 248 F. Supp. 2d 132 (N.D.N.Y. 2003) .................................................................31

Doe 2 by & through Doe 1 v. Fairfax Cty. Sch. Bd.,
 384 F. Supp. 3d 598 (E.D. Va. 2019) ...................................................................31


                                                         iii
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.762 Filed 01/31/22 Page 7 of 43




Doe v. Baum,
 903 F.3d 575 (6th Cir. 2018) ......................................................................... 25, 26

Doe v. Case W. Rsrv. Univ.,
 809 F. App’x 276 (6th Cir. 2020) .........................................................................32

Doe v. Columbia Univ.,
 101 F. Supp. 3d 356 (S.D.N.Y. 2015) ..................................................................30

Doe v. Fairfax Cty. Sch. Bd.,
 403 F. Supp. 3d 508 (E.D. Va. 2019) ...................................................................33

Doe v. Miami Univ.,
 882 F.3d 579 (6th Cir. 2018) ......................................................................... 32, 33

Doe v. Syracuse Univ.,
 457 F. Supp. 3d 178 (N.D.N.Y. 2020) .................................................................34

Doe v. Univ. of Dayton,
 766 F. App’x 275 (6th Cir. 2019) .........................................................................30

Doe v. Univ. of St. Thomas,
 240 F. Supp. 3d 984 (D. Minn. 2017) ........................................................... 32, 34

Doe v. Valencia Coll.,
 903 F.3d 1220 (11th Cir. 2018) ............................................................................32

Ewing v. Bd. of Regents of Univ. of Michigan,
 559 F. Supp. 791 (E.D. Mich. 1983) ....................................................... 19, 27, 28

Fenje v. Feld,
  398 F.3d 620 (7th Cir. 2005) ................................................................................21

Firester v. Bd. of Governors of Wayne State Univ.,
  908 F.2d 973 (6th Cir. 1990) ................................................................................28

Flaim v. Med. Coll. Of Ohio,
  418 F.3d 629 (6th Cir. 2005) ................................................................... 25, 26, 27

Fuller v. Schoolcraft Coll.,
  909 F. Supp. 2d 862 (E.D. Mich. 2012) ...............................................................28



                                                       iv
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.763 Filed 01/31/22 Page 8 of 43




Goss v. Lopez,
 419 U.S. 565 (1975) .............................................................................................27

Kentucky v. Graham,
 473 U.S. 159 (1985) .............................................................................................18

Klein v. HP Pelzer Auto. Sys., Inc.,
  854 N.W.2d 521 (Mich. Ct. App. 2014) ..............................................................35

Kreipke v. Wayne State Univ.,
  807 F.3d 768 (6th Cir. 2015) ................................................................................18

Ku v. State of Tennessee,
 322 F.3d 431 (6th Cir. 2003) ................................................................................23

Linebaugh v. Sheraton Michigan Corp,
  497 N.W.2d 585 (Mich. Ct. App. 1993) ..............................................................39

Lipian v. Univ. of Michigan,
  453 F. Supp. 3d 937 (E.D. Mich. 2020) ...............................................................34

Mays v. Governor,
 916 N.W.2d 227 (Mich. Ct. App. 2018) ..............................................................38

Mbawe v. Ferris State Univ.,
 751 F. App’x 832 (6th Cir. 2018) .........................................................................22

Odom v. Wayne Cnty.,
 760 N.W.2d 217 (Mich. 2008) .............................................................................38

Paul v. Davis,
  424 U.S. 693 (1976) .............................................................................................20

Pennhurst State Sch. & Hosp. v. Halderman,
  465 U.S. 89 (1984) ...............................................................................................18

Saqr v. Univ. of Cincinnati,
  Case No. 18-cv-542, 2019 WL 699347 (S.D. Ohio Dec. 2, 2019) ......................16

Scott v. Harris,
  550 U.S. 372 (2007) ...............................................................................................6



                                                          v
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.764 Filed 01/31/22 Page 9 of 43




Siegert v. Gilley,
  500 U.S. 226 (1991) .............................................................................................20

Simmons v. Wayne Cty. Cmty. Coll. Dist.,
  No. 11-cv-14936, 2014 WL 764632 (E.D. Mich. Feb. 25, 2014) ........................22

Stevenson v. Owens State Cmty. Coll.,
  562 F. Supp. 2d 965 (N.D. Ohio 2008) ......................................................... 22, 29

U.S. SEC v. Sierra Brokerage Services, Inc.,
  712 F.3d 321 (6th Cir. 2013) ................................................................................17

Varlesi v. Wayne State Univ.,
  909 F. Supp. 2d 827 (E.D. Mich. 2012) ...............................................................29

Vigil v. Regents of Univ. of Michigan,
  980 F. Supp. 2d 790 (E.D. Mich. 2013) ...............................................................28

Vredevelt v. GEO Grp., Inc.,
  145 F. App’x 122 (6th Cir. 2005) .........................................................................39

Will v. Michigan Dep’t of State Police,
 491 U.S. 58 (1989) ...............................................................................................18

Yaldo v. Wayne State Univ.,
  266 F. Supp. 3d 988 (E.D. Mich. 2017) ...............................................................22

Yoder v. Univ. of Louisville,
  526 F. App’x 537 (6th Cir. 2013) ............................................................ 21, 27, 29

Zwick v. Regents of Univ. of Mich.,
 No. 06-cv-12639, 2008 WL 1902031 (E.D. Mich. Apr. 28, 2008)......................35

Statutes

20 U.S.C. § 1681 ......................................................................................................30

42 U.S. § 1983..........................................................................................................18

Constitutional Provisions

Mich. Const. 1963 Art. IV, § 53 ..............................................................................37

Mich. Const. 1963 Art. V, § 2..................................................................................37
                                                           vi
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.765 Filed 01/31/22 Page 10 of 43




 Mich. Const. 1963 Art. VIII, §§ 4, 5 .......................................................................37

 Mich. Const. 1963 Art. I, § 17 .................................................................................36




                                                        vii
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.766 Filed 01/31/22 Page 11 of 43




                              ISSUES PRESENTED

 1.   Sovereign immunity bars federal courts from entertaining suits against
      states seeking monetary damages or retrospective relief for violations of
      § 1983 or state law. Wayne State University and university officials sued in
      their official capacity are considered the state for purposes of sovereign
      immunity.

      Does sovereign immunity bar Plaintiff’s claims in Counts I and III–VI for
      monetary and prospective relief against the University and the other
      Defendants in their official capacity?

 2.   The Fourteenth Amendment’s Due Process Clause requires only that a
      university provide informal notice and carefully deliberate before
      dismissing a student for academic reasons. Plaintiff was notified orally and
      in writing about concerns regarding his professionalism, submitted multiple
      written statements and evidence, appeared at two lengthy committee
      hearings, and pursued two institutional appeals.

      Was this process sufficient to satisfy the “far less stringent” due process
      requirements for academic dismissals, entitling Defendants to summary
      judgment on Plaintiff’s due process claim?

 3.   Title IX’s prohibition on gender discrimination requires Plaintiff to prove
      that the University treated similarly situated persons of the opposite gender
      more favorably than Plaintiff. Plaintiff’s only proposed comparator did not
      engage in similar conduct and was not subject to the same standards as
      Plaintiff.

      Is the University entitled to summary judgment on Plaintiff’s Title IX
      claim?

 4.   Like Title IX, the Equal Protection Clause’s prohibition on gender
      discrimination requires Plaintiff to prove that Defendants treated similarly
      situated persons of the opposite gender more favorably than Plaintiff.
      Again, Plaintiff’s only proposed comparator did not engage in similar
      conduct and was not subject to the same standards as Plaintiff.



                                         viii
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.767 Filed 01/31/22 Page 12 of 43




      Are Defendants entitled to summary judgment on Plaintiff’s equal
      protection claim?

 5.   To establish a promissory estoppel claim under Michigan law, Plaintiff
      must identify a specific promise by Defendants that induced reasonable
      reliance. Plaintiff relies on an irrelevant code of conduct and generic
      references to implied promises that Michigan courts have historically
      rejected as a basis for promissory estoppel claims.

      Is the University entitled to summary judgment on Plaintiff’s promissory
      estoppel claim?

 6.   The Fair and Just Treatment Clause of the Michigan Constitution applies
      only to “executive” hearings and investigations and guarantees only that
      individuals will be treated respectfully during such proceedings. The
      University is not an executive agency, and Defendants treated Plaintiff with
      dignity and respect throughout his professionalism process.

      Are Defendants entitled to summary judgment on Plaintiff’s Fair and Just
      Treatment claim?

 7.   To establish a claim for intentional infliction of emotional distress under
      Michigan law, Plaintiff must present evidence of outrageous, conscience-
      shocking behavior by Defendants. Plaintiff adduced no evidence of conduct
      that meets this extremely high standard under Michigan law.

      Are Defendants entitled to summary judgment on Plaintiff’s intentional
      infliction of emotional distress claim?




                                        ix
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.768 Filed 01/31/22 Page 13 of 43




                         CONTROLLING AUTHORITY

 Issue I:     Will v. Michigan Dep’t of State Police, 491 U.S. 58 (1989)
              Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89 (1984)
              Kreipke v. Wayne State Univ., 807 F.3d 768 (6th Cir. 2015)


 Issue II:    Bd. of Curators of Univ. of Mo. v. Horowitz, 435 U.S. 78 (1978)
              Al-Dabagh v. Case W. Rsrv. Univ., 777 F.3d 355 (6th Cir. 2015)
              Brosseau v. Haugen, 543 U.S. 194 (2004)


 Issue III:   Doe v. Univ. of Dayton, 766 F. App’x 275 (6th Cir. 2019)
              Doe v. Miami Univ., 882 F.3d 579 (6th Cir. 2018)
              Doe v. Case W. Rsrv. Univ., 809 F. App’x 276 (6th Cir. 2020)


 Issue IV:    Lipian v. Univ. of Michigan, 453 F. Supp. 3d 937 (E.D. Mich. 2020)


 Issue V:     Klein v. HP Pelzer Auto. Sys., Inc., 854 N.W.2d 521 (Mich. Ct. App.
              2014)
              Cuddihy v. Wayne State Univ., 413 N.W.2d 692 (Mich. Ct. App.
              1987)


 Issue VI:    Courser v. Allard, 969 F.3d 604, 618 (6th Cir. 2020)
              Mich. Const. 1963 Art. I, § 17
              Mich. Const. 1963 Art. VIII, §§ 4, 5
              Mich. Const. 1963 Art. V, § 2


 Issue VII:   Courser v. Michigan House of Representatives, 831 F. App'x 161 (6th
              Cir. 2020)
              Linebaugh v. Sheraton Michigan Corp, 497 N.W.2d 585 (Mich. Ct.
              App. 1993)
              Vredevelt v. GEO Grp., Inc., 145 F. App’x 122 (6th Cir. 2005)




                                         x
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.769 Filed 01/31/22 Page 14 of 43




                                  INTRODUCTION

       As former medical student Anthony Eid will tell you, “Medical school is more

 than learning about the art of healing—it’s also a time to develop the traits of a

 physician: honesty, professionalism, and integrity.” And as he will also tell you,

 “When it came to exhibit[ing] these important qualities, [he] was severely lacking.”

       Eid is right on both counts. The Wayne State University School of Medicine

 requires students to meet professionalism standards to earn a medical degree. After

 learning that Eid sent deceitful and harassing texts to a former student, the School

 began a lengthy and careful professionalism inquiry, which revealed troubling

 behaviors by Eid, and which ended with the School determining that he severely

 lacked the character traits required of a doctor.

       Eid sued the University and several officials involved in the professionalism

 process, claiming denial of due process, gender discrimination, and several state-law

 claims. But discovery supported none of Eid’s theories and, in fact, only reinforced

 the School’s assessment concerning his character deficiencies. The School treated

 Eid fairly, and it scrupulously complied with the procedures for professionalism

 cases, including notice, hearings, and appeals—far more than what the Constitution

 requires for academic dismissals. For that reason and the others discussed below,

 Defendants ask this Court to grant them summary judgment on all counts.




                                            1
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.770 Filed 01/31/22 Page 15 of 43




                                        FACTS

 Professionalism at the School of Medicine

       To graduate from Wayne State University’s School of Medicine, students

 must do more than show they can perform a differential diagnosis or stitch a wound.

 To become a physician, students are required as “part of the academic requirements

 of the M.D. program” to uphold the School’s Professionalism Standards from

 matriculation to graduation, both in and out of the classroom and clinic. (Ex. 1A,

 Handbook, pp. 18, 83; Ex. 1C, Prof. Comm. Bylaws, p. 4.)

       Students exhibiting unprofessional behaviors are referred first to the School’s

 Professionalism Committee. After initial fact gathering and a hearing before the

 Committee involving the relevant parties, the Committee “determine[s] whether

 [the] student is in violation of . . . the professionalism core values” and whether

 remediation is appropriate. (Ex. 1C, Prof. Comm. Bylaws, p. 4, 9.) If the Committee

 concludes the behavior warrants dismissal, it refers the student to the Promotions

 Committee, the only entity with the authority to dismiss students. (Id.)

       The Promotions Committee is the School’s “final decision-making entity”

 regarding each student’s “fitness and suitability for the study and practice of

 medicine.” (Ex. 1B, Prom. Comm. Bylaws, p. 4.) Students referred to the Committee

 may submit a statement and are invited to a hearing before the Committee “to ensure

 that all relevant data is available.” (Id.) During deliberations, which are an exercise


                                           2
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.771 Filed 01/31/22 Page 16 of 43




 of “academic decision making,” the Committee considers the student’s entire

 academic record to date, as well the issue affecting the student’s academic or

 professional performance. (Id. at 7-8.)

       A student may seek reconsideration of the Promotions Committee’s decision

 within ten business days. (Id. at 9.) In cases of dismissal, students may also

 “voluntarily and permanently withdraw” in lieu of dismissal within ten business days

 of the dismissal decision. (Ex. 1A, Handbook, p. 56.) But “[t]he offer to withdraw

 becomes null and void if the student elects to request reconsideration of the dismissal

 to the Chair of the Promotions Committee.” (Id.) If the Promotions Committee

 reaffirms its decision, the student may appeal the decision to the University Provost,

 who reviews the decision on the record. (Ex. 1B, Prom. Comm. Bylaws, p. 9.)

 The School Learns of Eid’s Unprofessional Behavior

       On October 29, 2018, former WSU undergraduate student Jane Roe1 filed a

 university complaint about then-second-year medical student Anthony Eid and a

 series of concerning text messages he sent beginning in Fall 2016, when the two met

 at a campus orientation event. (Ex. 2, Camaj Report, WSU/Eid 222–23.)2 At that



 1
   Eid referred to this person pseudonymously as “Jane Roe” in his complaint, and
 the parties agreed to continue the pseudonym throughout discovery since Roe’s
 actual identity is irrelevant for purposes of this motion.
 2
   Roe filed it using the University’s general online complaint form, which is separate
 from the procedure used to file a charge under the Student Code of Conduct or Title
 IX. See https://cm.maxient.com/reportingform.php?WayneStateUniv&layout_id=4.
                                           3
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.772 Filed 01/31/22 Page 17 of 43




 event, Eid provided Roe electronic study materials saved on his iCloud account and

 the two exchanged phone numbers. (Id.) Several weeks later, Eid texted Roe, telling

 her that he “was hacked . . . by someone in Asia.” (Id.) He said (falsely) that Apple

 advised him he needed to log into Roe’s account on his computer in order to secure

 his account. (Ex. 3, Roe-Eid Texts, WSU/Eid 231.) Roe ignored him at first. But Eid

 persisted, claiming (again, falsely) that Apple suggested that she needed to turn off

 her two-step verification to secure his account. (Id. at WSU/Eid 230.) After months

 of unreturned texts, Eid grew frustrated. He told Roe he was filing a “complaint” the

 next day if she didn’t help him. (Id. at WSU/Eid 233.)

       That got Roe’s attention. She offered several of her passwords that Eid said

 did not solve his problem. (Id. at WSU/Eid 233-234.) After weeks’ more of cajoling,

 including yet another (false) appeal to authority (“I just called Apple and . . . [t]hey

 said . . .”) Roe eventually gave Eid a password that he said worked. (Id. at WSU/Eid

 235–238; Ex. 2, Camaj Report, WSU/Eid 222.)

       Eid stopped texting Roe for several months, until he texted again in August

 2018, claiming that his account had been hacked and that she was somehow

 involved. (Ex. 3, Roe-Eid Texts, WSU/Eid 226.) He said (falsely) that he had

 contacted the police and that “[t]hey tracked the IP address” to a mailing address

 that matched hers. Eid said (again, falsely) that the police “recommended [he] reach

 out to [her].” (Id.) She declined to help, telling him to “[p]lease stop contacting me.”


                                            4
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.773 Filed 01/31/22 Page 18 of 43




 (Id. at WSU/Eid 227.) Eid responded that he was “going to have to file a lawsuit

 with the 36th district court for damages” and that she “may hear from [his] lawyer

 if this is not resolved.” (Id. at WSU/Eid 228.)

       Several weeks later, on October 25, 2018, Roe received an email from

 wolffsmithlawfirm@gmail.com.3 (Ex. 4, Atty Email, WSU/Eid 203.) The “author,”

 Alexander Wolff-Smith, purported to be an attorney representing Eid in a case

 against Roe in the 36th District Court. (Id.) He “strongly encouraged” Roe to settle

 with Eid, telling her to contact Eid at the number he’s been using to text her. (Id.)

 The next day, Eid texted Roe: “Hi. My lawyer told me he emailed you yesterday.

 Take a look and lmk [let me know] what you wanna do. I’m open to a better

 resolution. Thanks!”4 (Ex. 3, Roe-Eid Texts, WSU/Eid 228.)

       Roe told her parents, who helped her determine that the email was not sent by

 a real attorney. (Ex. 5, Mrs. Roe Email, WSU/Eid 198.) They encouraged her to

 make a report with Wayne State University, which she did, reciting the events

 described above. Roe’s mother, who also happened to be a nurse at a Detroit-area


 3
    According to business records subpoenaed from Google, the
 “wolffsmithlawfirm@gmail.com” account was created the same day, just over an
 hour before the email was sent. (Ex. 6, Google Records.)
 4
   During his deposition, Eid acknowledged sending all the texts except this one, even
 though it is part of the same conversation as all the other texts. (Ex. 29, Eid Dep. II,
 pp. 260–61.) Eid’s testimony notwithstanding, there is no genuine dispute that Eid
 sent this text. See Scott v. Harris, 550 U.S. 372, 380 (2007). Eid couldn’t explain
 how the text showed up in his conversation with Roe.
                                            5
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.774 Filed 01/31/22 Page 19 of 43




 hospital, mentioned the ordeal to a physician who encouraged her to notify the

 medical school. (Ex. 25, Chadwell Dep., pp. 21-22.) She contacted the Associate

 Dean of Student Affairs and Career Development, Dr. Margit Chadwell, and relayed

 her daughter’s story. (Id.) Chadwell recognized the obvious professionalism

 concerns and immediately notified the Chairs of the Professionalism and Promotions

 Committees, Dr. Matt Jackson and Dr. Richard Baker. (Id. at 31-32, 34–36.)

 Camaj Interviews Eid and Roe and Sends a Summary to the School

       The first step in the professionalism process is assembling the pertinent

 information. (Ex. 1C, Prof. Comm. Bylaws, p. 9.) To assist with that task, the School

 enlisted Nikolina Camaj, who works in the University’s Dean of Students Office as

 the Student Conduct Officer. (Ex. 26, Camaj Dep., pp. 43, 84–85.) In her role, Camaj

 handles not only charges under the University’s Student Code of Conduct, but also

 other reports of concerning behavior by members of the WSU community, which

 are not subject to the Student Code of Conduct. (Id. at 46, 51–54.) Eid’s case fell

 into the latter category. Camaj was asked by the School to interview Roe and Eid

 and prepare a report of their statements, including any additional evidence.5 (Id. at




 5
  Roe did not file a charge under the Code of Conduct. As Camaj explained during
 her deposition, if no charges under the Code are filed, then the Student Code of
 Conduct does not apply. (Ex. 26, Camaj Dep., p. 95; Ex. 27, Jackson Dep., p. 117.)
                                          6
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.775 Filed 01/31/22 Page 20 of 43




 86–87, 95–97; Ex. 27, Jackson Dep., p. 64.) She was not tasked with making

 credibility findings or any conclusions. (Ex. 26, Camaj Dep., pp. 86–87.)

       Camaj interviewed Roe by phone on November 15, 2018. (Ex. 2, Camaj

 Report, WSU/Eid 240.) Roe reiterated the version of events from her online

 complaint. (Id.) Afterwards, she sent Camaj text messages between her and Eid. (Ex.

 26, Camaj Dep., p. 116.)6

       On November 27, 2018, Camaj emailed Eid inviting him to meet with her to

 discuss the reported concerns.7 (Ex. 7, Camaj Letter, WSU/Eid 245.) At the outset

 of their meeting, she explained to Eid that this was not a Student Code of Conduct

 matter, but rather a report of concerning behavior and that her only role was to take

 statements and forward them to the medical school for handling through the

 Professionalism process. (Ex. 26, Camaj Dep., pp. 109-110; Ex. 8, Chadwell-Camaj

 Email Chain, WSU/EID 340.) Eid confirmed that he knew Roe and explained that

 he had been texting her in an effort to secure his online accounts. (Ex. 26, Camaj

 Dep., p. 116; Ex. 2, Camaj Report, WSU/Eid 241.) He acknowledged that he



 6
  The screenshots of the texts that Roe sent to Camaj, and which Camaj appended to
 her report, were not in chronological order. For convenience, Defendants
 reorganized the texts into chronological order. (See Ex. 3, Roe-Eid Texts.)
 7
   Eid responded to Camaj’s email the same day at 3:52 p.m. According to business
 records     subpoenaed     from      Google,     15     minutes    later,    the
 “wolffsmithlawfirm@gmail.com” account was deleted by the account holder. (Ex.
 6, Google Records.)
                                          7
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.776 Filed 01/31/22 Page 21 of 43




 “stretched the truth” with Roe and had lied about contacting the police and Apple

 and having a lawyer (hence, the “false” parentheticals above). (Ex. 2, Camaj Report,

 WSU/EID 241.) But he denied sending the fake attorney email. (Id.)

       Camaj told Eid he could write a statement for review by the medical school.

 (Ex. 26, Camaj Dep., pp. 114–15.) He did so and in it took “full responsibility for

 the text messages/Facebook messages.” (Ex. 2, Camaj Report, WSU/Eid 243) He

 admitted that he “lied to [Roe] about many things,” including his representation

 about contacting Apple and the police and about having an attorney (Id.) At the same

 time, Eid insisted that his actions had no bearing on his fitness to be a doctor:

 “[W]hile these actions do represent a character flaw that I deeply regret,” he wrote,

 “I think it is also important to note that the actions in themselves are not a medical

 school issue, but rather a civil one.” (Id. at WSU/Eid 244.)

 The Professionalism Committee Recommends Eid’s Dismissal

       With Camaj’s report and supporting documents in hand, Dr. Jackson

 scheduled a Professionalism Committee hearing. (Ex. 9, Jackson Email, WSU/Eid

 362.) He notified Eid of the hearing and met with him in advance to explain the

 process. (Id.) At the meeting, Eid reviewed a copy of the materials being presented

 to the Committee (the Camaj Report and accompanying documents). (Ex. 29, Eid

 Dep. II, pp. 300, 479; Ex. 27, Jackson Dep., p. 80.)




                                           8
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.777 Filed 01/31/22 Page 22 of 43




       At the hearing, the Committee heard first from Roe and her mother. (Ex. 10,

 Prof. Comm. Minutes, WSU/Eid 20-22.) Roe recounted her communications with

 Eid. (Id.) She also told the Committee that she suspected Eid was trying to hack her

 accounts to obtain personal information, though she had no hard proof of that. (Id.)

       The Committee then heard separately from Eid. (Id. at WSU/Eid 22.)8 He read

 the statement he sent to Camaj and offered a five-part remediation plan that included

 meeting with a therapist and his class counselor, taking an online ethics course, and

 writing a reflection paper and apology letter. (Id.; Ex. 27, Jackson Dep., pp. 79-80.)

 As before, Eid admitted that he lied to Roe about contacting the police and Apple

 and about having an attorney, but only so that Roe would “take the situation

 seriously.” (Ex. 10, Prof. Comm. Minutes, WSU/Eid 22; Ex. 27, Jackson Dep., pp

 114–15.) He fielded questions about how his actions measured up to the School’s

 professionalism standards. (Id. at WSU/Eid 23.) Following deliberations, the

 Committee “unanimously decided” that, due to his “repeated lying and harassment,”

 “Eid’s behavior was not consistent with that of a future physician.” (Id.) The

 Committee voted unanimously to refer Eid to the Promotions Committee with a

 recommendation for dismissal. (Ex. 11, Prof. Comm. Letter, WSU/Eid 410.)



 8
   Before the hearing, and at multiple points throughout the process, Eid met with his
 class counselor, Defendant Loretta Robichaud, who provided non-substantive
 feedback on his statements, helped him find a therapist, and answered his questions
 to the best of her knowledge. (Ex. 29, Eid Dep. II, pp. 303–308.)
                                           9
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.778 Filed 01/31/22 Page 23 of 43




 The Promotions Committee Dismisses Eid

       Eid took the opportunity to submit a new written statement to the Promotions

 Committee, which opened with a stunning admission: “Medical school is more

 than learning about the art of healing. It’s also a time to develop the traits of a

 physician: honesty, professionalism, and integrity. When it came to exhibit[ing]

 these important qualities,” he said, “I was severely lacking.” (Ex. 12, Prom.

 Comm. Statement, WSU/Eid 777; see also id. at WSU/Eid 778-79 (making other

 admissions).) Sadly, other statements cast serious doubt on Eid’s genuineness: “This

 whole situation,” he insisted, “has no bearing, in any way on my studies, my future

 patients, or any other members of the SOM community.” (Id. at WSU/Eid 779.) And

 despite “tak[ing] these charges seriously,” he viewed the recommendation like

 “receiving the death penalty for shoplifting.” (Id. at WSU/Eid 780.)

       At the Promotions Committee hearing, the Committee members reviewed the

 materials submitted to the Professionalism Committee, Eid’s second statement, and

 his entire academic file. (Ex. 13, Prom. Comm. Minutes, WSU/Eid 783.) Eid

 appeared and in prepared remarks reiterated many of the same points he made in his

 previous statements.9 (Ex. 14, Prom. Comm. Remarks, AE 289-90.) He admitted that

 his conduct presented a “difficult decision” for the Committee. (Id.)



 9
  Eid testified that he was asked to stop reading his remarks. (Ex. 29, Eid Dep. II, p.
 396.) Assuming that’s true, his remarks were duplicative of his written statements.
                                          10
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.779 Filed 01/31/22 Page 24 of 43




       The Committee then asked Eid questions, focusing not on his interactions with

 Roe but on whether Eid appreciated the professionalism concerns raised by his

 admitted conduct. Ex. 13, Prom. Comm. Minutes, WSU/Eid 783; Ex. 28, Baker

 Dep., p. 41–44, 54; Ex. 1, Gray Dec., ¶ 10; Ex. 15, Braun Dec., ¶ 6; Ex. 16, Waineo

 Dec, ¶ 6.) The Committee prodded to see whether Eid had the capacity for reflection

 and genuine self-improvement in the face of obvious character deficiencies. (Id.) Eid

 was defiant and evasive, lacked self-awareness, and failed to demonstrate

 accountability for his admittedly unprofessional behavior. (Id. at 45-46; Ex. 1, Gray

 Dec., ¶¶ 10–11; Ex. 13, Prom. Comm. Minutes, WSU/Eid 783.)

       Following “lengthy deliberation,” the Promotions Committee voted

 unanimously to dismiss Eid from the School. (Id.) As they later recounted, the

 deceitful and harassing texts that Eid admitted sending to Roe raised serious

 concerns about Eid’s judgment. Those concerns took on new dimensions when the

 Committee realized that Eid was merely paying lip service to the School’s

 professionalism standards. Eid refused to acknowledge that his behavior had any

 bearing on his fitness to be doctor, someone who would be entrusted with sensitive

 patient information and to work closely with vulnerable populations. In short, his

 communications with Roe, his written statements, and his presentation before the

 Promotions Committee all demonstrated to the Committee a fundamental lack of

 integrity, self-awareness, and capacity for the kind of fundamental change necessary


                                          11
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.780 Filed 01/31/22 Page 25 of 43




 to uphold the School’s and the medical profession’s professionalism values. (Ex. 1,

 Gray Dec., ¶¶ 13–17; Ex. 15, Braun Dec., ¶¶ 8–13; Ex. 16, Waineo Dec, ¶¶ 8–13.)

       In his letter notifying Eid of the decision, Dr. Baker informed him of his

 procedural options moving forward, which were to “voluntarily withdraw from the

 of Medicine or to appeal this decision.” (Ex. 17, Prom. Comm. Letter, AE 303; see

 also Ex. 1A, Handbook, p. 56.) If he chose one of those options, he was required to

 notify the School by letter within 10 business days. (Id.) Several days later, Eid sent

 an email asking for an extension of the 10-day deadline to make his “decision,”

 saying that “ten days is simply not enough time for me to make a decision of his

 magnitude.” (Ex. 18, Eid Extension Email, WSU/Eid 501.) He also asked to extend

 the withdrawal option mentioned in Dr. Baker’s letter in the event the Provost denied

 his appeal. (Id.) Dr. Baker agreed to extend the deadline to appeal or withdraw, but

 he did not alter the School’s appeal-or-withdraw policy.10 (Ex. 19, Muhammad-

 Chadwell Email, WSU/Eid 497.)

       Eid elected to appeal to the Promotions Committee for rehearing, thereby

 negating his ability to voluntarily withdraw. (Ex. 20, Prom. Comm. Appeal,



 10
   Eid disputes the latter point, claiming that Dr. Baker told him he could withdraw
 before his appeal to the Provost. Eid’s testimony does not match up with the email
 he sent, which refers to possible withdraw after the Provost appeal (not before). (See
 Ex. 18, Eid Extension Email, WSU/Eid 501.) And a contemporaneous email
 recapping the meeting made clear that Eid had until “March 20th to submit his appeal
 or withdraw.” (Ex. 19, Muhammad-Chadwell Email, WSU/Eid 497.)
                                           12
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.781 Filed 01/31/22 Page 26 of 43




 WSU/Eid 525–65.) He submitted a written statement reiterating his explanation for

 his actions and pointing to additional documents that he said shows his accounts

 were hacked. (Id. at WSU/Eid 530–33.) Most important, Eid claimed to “understand

 the issues that [the Committee members] are worried about.” (Id. at WSU/Eid 530.)

 He promised to not “use [his] position (hopefully as a physician) for personal gain,

 [or] . . . to access any information, or abuse [his] power in any way shape or form.”

 (Id.) Recognizing that his actions warranted action by the Committee, Eid requested

 he be placed on “extended probation” for the rest of medical school and, if his

 behavior did not change, he would “willfully accept a dismissal without a hearing,

 without the option to withdraw.” (Id. at WSU/Eid 532.)

       Eid also wrote an apology letter to Roe. (Id. at WSU/Eid 534.) He told her

 that he “regret[s] nothing more in [his] life than what [he did] to [Roe],” referring to

 conduct that, just weeks earlier, he had compared to mere “shoplifting.” (Id.) And

 despite offering evidence to the Promotions Committee implying Roe’s culpability,

 he faulted himself for not believing her: “I did the one thing I shouldn’t have done:

 I chose not to believe you, and I negated your experience. It shouldn’t have taken

 me so long to realize that you had been telling the truth all along[.]” (Id.)

       The Promotions Committee decided to deny Eid’s appeal because his written

 statement and additional information “was not sufficient to reverse their decision of

 dismissal.” (Ex. 21, Prom. Comm. Appeal Letter, WSU/Eid 671.)


                                           13
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.782 Filed 01/31/22 Page 27 of 43




 The Provost Concludes Eid was Afforded Due Process

       Eid subsequently appealed to the University’s Provost Office.11 (Ex. 22,

 Provost Appeal, WSU/Eid 74–77.) Contrary to his statement to the Promotions

 Committee in which he claimed to understand the Committee’s professionalism

 concerns, Eid now claimed that he “ha[d] yet to be informed what specific violations

 [he had] made that would warrant dismissal from the School of Medicine.” (Id. at

 WSU/Eid 75.) Eid also argued that he was denied due process because the School

 failed to follow portions of the Student Code of Conduct and because he was denied

 the option to withdraw after being told he could. (Id. at WSU/Eid 74-77.)

       Associate Provost Dr. Darin Ellis issued a decision denying Eid’s appeal. (Ex.

 24, Provost Letter, WSU/Eid 705-708.) As Camaj had done at the outset, Dr. Ellis

 explained that the Student Code of Conduct did not apply to Eid’s professionalism

 proceedings. (Id. at WSU/Eid 706.) He also documented the School’s compliance

 with the professionalism procedures, before concluding: “[A]ll evidence points to

 the fact that the decision to dismiss you was based solely upon the collective

 academic decision making of the promotions committee.” (Id. at WSU/Eid 707.)




 11
   Before that, Eid inquired with Dr. Baker’s office about withdrawing from school.
 (Ex. 23, Eid-Muhamad Email, WSU/Eid 702.) Dr. Baker’s assistant corrected Eid’s
 false assertion that Dr. Baker permitted him to withdraw after appealing to the
 Promotions Committee. (Id. at WSU/Eid 701.) Eid never responded.
                                         14
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.783 Filed 01/31/22 Page 28 of 43




 Eid Sues and Reinforces the School’s Professionalism Assessment

       Officially dismissed from the School of Medicine, Eid filed suit against the

 University, the School of Medicine, and six WSU employees involved in Eid’s

 professionalism process who had no decision- or policy-making authority.12

       His deposition confirmed the Promotions Committee’s assessment that his

 “purported claims of contrition in writing and before the committee were completely

 insincere, said only to placate members of the committee.” (Ex. 1, Gray Dec., ¶ 16.)

 Wishing that he would have been more defensive, Eid retracted a number of

 admissions, including that his behavior exposed a “major character flaw.” (Ex. 29,

 Eid Dep. II, p. 273 (“That’s what I wrote, I understand, but I don’t think it actually

 was a major character flaw.”); see also id. at 391–94, 442–43.) And while he still

 agreed that he lied to Roe, id. at 276, he continued to ignore the significance of his

 conduct under the School’s Professionalism Standards. (Id. at 289.) “It wasn’t any

 of the business of the medical school.” (Id. at 291; see also id. at 289.)

                                LEGAL STANDARD

       Rule 56 entitles the moving party to summary relief if it can show that “there

 is no genuine dispute as to any material fact and the movant is entitled to judgment



 12
    Although Eid separately named the School of Medicine as a defendant, as stated
 in Defendants’ Answer, the School of Medicine is not a separate legal entity but is
 merely a part of the University. It is not properly listed as a separate defendant. Saqr
 v. Univ. of Cincinnati, Case No. 18-cv-542, n.1 (S.D. Ohio Dec. 2, 2019).
                                           15
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.784 Filed 01/31/22 Page 29 of 43




 as a matter of law.” U.S. SEC v. Sierra Brokerage Services, Inc., 712 F.3d 321, 326–

 27 (6th Cir. 2013) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986)). A

 moving party can carry its burden by showing “there is an absence of evidence to

 support the non-moving party’s case.” Celotex Corp. v. Catrett, 477 U.S. 317, 325

 (1986). To avoid summary judgment, the plaintiff must identify evidence in record

 on which the jury could reasonably find [in their favor].” Anderson, 477 U.S. at 252.

                                     ARGUMENT

  I.   Sovereign immunity bars the bulk of Eid’s claims for relief.

       The Eleventh Amendment of the U.S. Constitution bars federal courts from

 entertaining suits against states seeking monetary damages or retrospective relief.

 That prohibition applies to claims against Wayne State University, as an “arm of the

 state,” Kreipke v. Wayne State Univ., 807 F.3d 768, 781 (6th Cir. 2015), as well as

 claims against the individual Defendants in their official capacity, see Kentucky v.

 Graham, 473 U.S. 159, 167 (1985). The immunity covers his § 1983 claims (I and

 III). Will v. Michigan Dep’t of State Police, 491 U.S. 58, 66 (1989).13 It also covers

 Eid’s state-law claims (Counts IV–VI). Pennhurst State Sch. & Hosp. v.

 Halderman, 465 U.S. 89, 106 (1984). This Court should therefore dismiss Counts I




 13
   In Will, the Supreme Court also held that “neither a State nor its officials acting in
 their official capacities are ‘persons’ under § 1983,” 491 U.S. at 71, and for that
 reason as well Eid’s § 1983 claims should be dismissed.
                                           16
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.785 Filed 01/31/22 Page 30 of 43




 and III–VI to the extent they seek monetary damages or retroactive injunctive relief

 from the University or the individual defendants in their official capacity.

  II.   Defendants are entitled to summary judgment on Eid’s due process
        claim.

           A. Eid lacks a protected liberty or property interest and, regardless,
              he was given more process than is required for academic
              dismissals.

        Eid’s procedural due process claim fails at the outset because it lacks a

 constitutionally protect property or liberty interest. His claim of a “property

 interest[ ] in his continued enrollment” under the Student Code of Conduct overlooks

 that the promotions and graduation requirements come from the School of

 Medicine’s handbook, not the Code of Conduct. (Am.Compl., ECF No.24,

 PageID.545–46.) In any event, Michigan law does not recognize this kind of

 property interest. See Ewing v. Bd. of Regents of Univ. of Michigan, 559 F. Supp.

 791, 800 (E.D. Mich. 1983) (statement in university publication did not create

 entitlement); Cuddihy v. Wayne State Univ., 413 N.W.2d 692, 695 (Mich. Ct. App.

 1987) (advisor’s statement that student would graduate did not create entitlement).14

        Eid also claims a liberty interest in his reputation (see Am.Compl., ECF

 No.24, PageID.545), but to establish that he must show, among other things, that the

 University publicly disclosed stigmatizing information in connection with his



 14
   Eid’s contrary assertion amounts to no more than a common law breach of contract
 claim, which is barred by sovereign immunity. Pennhurst, 465 U.S. at 106.
                                           17
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.786 Filed 01/31/22 Page 31 of 43




 dismissal. See Paul v. Davis, 424 U.S. 693, 710–12 (1976); Siegert v. Gilley, 500

 U.S. 226, 233 (1991). Yet the only communications about Eid’s dismissal were

 private letters issued to him and University officials involved that simply set forth

 the Committee’s decision. (Ex. 11, Prof. Comm. Letter, WSU/Eid 410–11; Ex. 17,

 Prom. Comm. Letter, AE 303.) See Bishop v. Wood, 426 U.S. 341, 348–49 (1976);

 Beischel v. Stone Bank Sch. Dist., 362 F.3d 430, 439 (7th Cir. 2004).

       Even assuming arguendo that Eid had alleged a cognizable property or liberty

 interest, he must also show that the University denied him sufficient process. The

 amount of process due to Eid depends on whether his dismissal was an “academic”

 decision. The procedural due process requirements for academic dismissals are “far

 less stringent” than for disciplinary dismissals because such academic decisions

 require “an expert evaluation of cumulative information and [are] not readily

 adapted to the procedural tools of judicial or administrative decision making.”

 Horowitz, 435 U.S. at 86, 90, 92. In recognition of the fact that “[u]niversity faculties

 must have the widest range of discretion in making judgment as to the academic

 performance of students and their entitlement to promotion or graduation,” id. at 96

 n. 6 (Powell, J., concurring), the Fourteenth Amendment requires only that the

 school “fully inform [the student] of the faculty’s dissatisfaction” and come to a

 “careful and deliberate” decision. Ku v. State of Tennessee, 322 F.3d 431, 436 (6th

 Cir. 2003) (quoting Horowitz, 435 U.S. at 90, 92). No hearing is required. Id.


                                            18
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.787 Filed 01/31/22 Page 32 of 43




       As this Court observed, “[i]n the Sixth Circuit,” and certainly at WSU,

 “dismissing a medical student for lack of professionalism is academic evaluation.”

 Yaldo v. Wayne State Univ., 266 F. Supp. 3d 988, 1005 (E.D. Mich. 2017) (Drain,

 J.); Al-Dabagh, 777 F.3d at 359–60; Fenje v. Feld, 398 F.3d 620, 624 (7th Cir. 2005).

 There is no question the School dismissed Eid for lack of professionalism. Faced

 with admitted behavior that, on its face, posed professionalism concerns, infra, pp.

 4–9, and writings that cycled from assertions of contrition to defiance, infra, pp. 8–

 12, the Promotions Committee members prodded Eid during his hearing to see

 whether he truly understood why there were grave questions about his character and

 integrity. Infra, pp. 11–12. They did not resolve disputes of objective fact, but rather

 engaged in an evaluative assessment of Eid’s character and capacity to exhibit the

 School’s professionalism values. Infra, pp. 11–12. After considering Eid’s varying

 explanations and how he presented himself, the Committee unanimously decided to

 dismiss Eid because he lacked the character traits required of a medical doctor. Infra,

 p. 12. (Ex. 1A, Handbook, pp. 18, 83.) This judgment was a quintessential academic

 decision. Horowitz, 435 U.S. at 90.

       Eid was also provided all the process ordinarily due for academic dismissals

 and then some. He was fully informed of the School’s concerns regarding his

 professionalism. Infra, pp. 8–11. Moreover, Eid went through a lengthy process that

 involved interviews, multiple opportunities to submit written statements, multiple


                                           19
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.788 Filed 01/31/22 Page 33 of 43




 meetings with University officials to assist Eid through the process, and appearances

 at two hearings (despite no hearing being required for an academic dismissal) where

 Eid made statements. See infra, pp. 7–15. The final hearing before the Promotions

 Committee lasted roughly two hours. (Ex. 13, Prom. Comm. Minutes, WSU/Eid

 783.) The Committee considered all evidence submitted to it, including multiple

 statements from Eid and deliberated at length over whether Eid displayed the

 requisite fitness to become a doctor. (See Ex. 1, Gray Dec., ¶ 12–18; Ex. 13, Prom.

 Comm. Letter, AE 303 (stating decision came after “careful committee

 deliberation”).) Notably, while due process does not require any appeal procedure,

 see Flaim v. Med. Coll. Of Ohio, 418 F.3d 629, 646 (6th Cir. 2005), Eid had the right

 to appeal for reconsideration to the Promotions Committee and again to the Provost.

       Despite being afforded more process than was due under the 14th Amendment

 for academic dismissals, Eid faults the School for not doing more. The student in

 Horowitz made a similar argument, claiming that academic dismissals “require the

 fundamental safeguards of representation by counsel, confrontation, and cross-

 examination of witnesses.” Horowitz, 435 U.S. at 86 n.2. The Supreme Court

 rejected that position—indeed, it rejected the proposition that a student in Eid’s

 position is entitled to any hearing at all.

       Eid’s primarily complaint is the lack of cross-examination during his

 professionalism hearing. But cross-examination was irrelevant here because Eid


                                               20
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.789 Filed 01/31/22 Page 34 of 43




 admitted, from the outset, to the conduct that brought him before the Committee and

 the legal significance of his conduct (i.e. that it fell short of the School’s

 professionalism standards). (Ex. 2, Camaj Report, WSU/Eid 241, 243.) See Flaim v.

 Med. Coll. of Ohio, 418 F.3d 629, 641 (6th Cir. 2005) (holding that cross-

 examination was not constitutionally required because the plaintiff admitted to the

 conduct that led to his dismissal); Baum, 903 F.3d at 584. Also, the Promotions

 Committee did not weigh Eid’s credibility against Roe; its decision was based solely

 on Eid’s admissions and his behavior during the professionalism review process.

 (Ex. 27, Jackson Dep., p. 93; Ex. 28, Baker Dep., p. 54; Ex. 1, Gray Dec., ¶ 20; Ex.

 15, Braun Dec., ¶ 16; Ex. 16, Waineo Dec., ¶ 16.)15

           B. Eid’s substantive due process claim fails as a matter of law.

       Eid’s substantive due process claim fares no better. The “[the Sixth Circuit]

 has rejected the notion that substantive due process protects a medical . . . student's

 interest in his or her continued enrollment.” Yoder, 526 F. App’x at 549 (citing

 cases). Beyond that, the substantive due process standard in the academic context is



 15
    Even if Eid’s dismissal were “disciplinary,” as opposed to “academic,” he was
 afforded sufficient process because he was given “effective notice” and multiple
 “informal hearing[s]” in which he had a chance to “give his version of the events”
 and demonstrate to the School that he was fit to be a physician. Goss v. Lopez, 419
 U.S. 565, 583 (1975); cf. Flaim, 418 F.3d at 640 (holding no procedural due process
 right to an attorney during disciplinary proceeding if it is not complex and there is
 no attorney presenting for the University, and no right to cross-examination if
 student admits the misconduct).
                                           21
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.790 Filed 01/31/22 Page 35 of 43




 exceedingly deferential. Courts must “show great respect for the faculty's

 professional judgment” and may not “override” that judgment “unless it is such a

 substantial departure from accepted academic norms as to demonstrate that the . . .

 committee responsible did not actually exercise professional judgment.” Regents of

 Univ. of Mich. v. Ewing, 474 U.S. 214, 225 (1985). That evidence is missing here.

 See infra, pp. 10–15. Cf. Horowitz, 435 U.S. at 91 (upholding dismissal of medical

 student for failing to observe “personal hygiene” and “timeliness”); Firester v. Bd.

 of Governors of Wayne State Univ., 908 F.2d 973 (6th Cir. 1990) (failing to exhibit

 “proper attitudes toward patients”); Fuller v. Schoolcraft Coll., 909 F. Supp. 2d 862,

 876 (E.D. Mich. 2012) (“lack of candor”).16

          C. The individual Defendants are entitled to qualified immunity
             from Eid’s due process claim.

       The individual Defendants are entitled to qualified immunity regarding Eid’s

 procedural and substantive due process claims. To overcome qualified immunity, a

 plaintiff must show that the right being asserted was clearly established in a

 “particularized sense” such that a reasonable official confronted with the same

 situation would have known that her actions would violate that right. Brosseau v.

 Haugen, 543 U.S. 194, 199-200 (2004).



 16
   Eid’s due process claim under the Michigan Constitution fails for the same reasons
 his claim under the 14th Amendment fails. See Vigil v. Regents of Univ. of Michigan,
 980 F. Supp. 2d 790, 803 (E.D. Mich. 2013) (applying same legal standard).
                                          22
  Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.791 Filed 01/31/22 Page 36 of 43




         First, not one of the individual Defendants was a voting member of that

   Committee and, thus, not involved in the alleged deprivation of Plaintiff’s due

   process rights. (Ex. 27, Jackson Dep., p. 79; Ex. 28, Baker Dep., p. 19; Ex. 10, Prof.

   Comm. Minutes, WSU/Eid 20; Ex. 13, Prom. Comm. Minutes, WSU/Eid 783.)

   Second, there is no “clearly established” law that Eid was denied a constitutionally

   protected interest for purposes of his procedural and substantive due process claim.

   See Yoder, 526 F. App’x at 549 (citing cases); Varlesi v. Wayne State Univ., 909 F.

   Supp. 2d 827, 861 (E.D. Mich. 2012) (Goldsmith, J.). And third, the individual

   Defendants acted reasonably in treating Eid’s case as an academic decision, see

   Yoder, 526 F. App’x at 550; Stevenson, 562 F. Supp. 2d at 965 (N.D. Ohio 2008),

   and in concluding that the process afforded him was adequate. For these reasons,

   the individual Defendants are entitled to qualified immunity.

III.     Eid’s Title IX fails because there is no evidence that gender influenced
         the Promotions Committee’s decision.

         Next, Eid claims in Count II that the University (not the individual

   Defendants) violated his rights under Title IX. Among the various legal theories a

   plaintiff can pursue under Title IX, Eid relies on two: “selective enforcement” and

   “erroneous outcome.” (Am.Compl., ECF No. 24, PageID.548); see Doe v. Univ. of

   Dayton, 766 F. App’x 275, 280 (6th Cir. 2019).




                                            23
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.792 Filed 01/31/22 Page 37 of 43




          A. Eid’s “selective enforcement” claim fails for lack of a proper
             comparator.

       To prevail under a “selective enforcement” theory, Eid “must show that a

 similarly-situated member of the opposite sex was treated more favorably than [him]

 due to [his] gender.” Doe, 766 F. App’x at 284. A person is similarly situated under

 Title IX if she is subject to the same discipline standards and engaged in comparable

 conduct. Doe v. Columbia Univ., 101 F. Supp. 3d 356, 374 (S.D.N.Y. 2015).

       The only “comparator” Eid has offered is Roe. But Roe is not a proper

 comparator because Eid never filed a University complaint against her. See Doe 2

 by & through Doe 1 v. Fairfax Cty. Sch. Bd., 384 F. Supp. 3d 598, 609 n.6 (E.D. Va.

 2019) (person who engaged in similar behavior not proper comparator because the

 plaintiff “never made any complaints against” her) (citing cases). Moreover, Eid and

 Roe were not subject to the same standards—unlike Roe, Eid was subject to the

 medical school’s professionalism standards and the subjective judgment of the

 Promotions Committee about his fitness to be a doctor; Roe was not. See Curto v.

 Smith, 248 F. Supp. 2d 132, 147 (N.D.N.Y. 2003).

          B. Eid’s “erroneous outcome” theory fails because he admitted to the
             underlying misconduct and there is no causal connection between
             his dismissal and gender bias.

       To prevail under an “erroneous outcome” theory, Eid must show (1) that the

 outcome of his proceeding was tainted by some “articulable doubt” and (2) that

 gender bias caused the doubt. Doe v. Miami Univ., 882 F.3d 579, 592 (6th Cir. 2018).

                                          24
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.793 Filed 01/31/22 Page 38 of 43




       Eid cannot show that his proceeding was tainted by doubt because he admitted

 critical facts underlying the decision—i.e., he admitted to sending deceitful texts to

 obtain Roe’s passwords and that his conduct gave rise to professionalism concerns.

 See Doe v. Case W. Rsrv. Univ., 809 F. App’x 276, 280 (6th Cir. 2020) (“[Plaintiff’s]

 concession is enough to dispel the notion that his hearing resulted in an “erroneous

 outcome.”); Doe v. Valencia Coll., 903 F.3d 1220, 1236 (11th Cir. 2018).

       There is also no evidence establishing that the outcome had “a particularized

 causal connection” to gender bias. Doe, 882 F.3d at 592. Insofar as Eid relies on a

 comparator theory to show gender bias, that approach fails. See infra, p. 28. Beyond

 that, Eid has not shown that the decision makers exhibited anti-male bias or that the

 University has “a pattern of decision-making tending to show that male students

 were disciplined more harshly than comparably situated female students.” Doe v.

 Fairfax Cty. Sch. Bd., 403 F. Supp. 3d 508, 518 (E.D. Va. 2019). His original

 complaint suggested that the Defendants were influenced by several investigations

 of Wayne State University or the School of Medicine by the U.S. Department of

 Education’s Office of Civil Rights. (Compl., ECF No. 1, PageID.6–7.) But the

 defendants who were asked about those investigations said they either did not know

 about them or their outcome. (Ex. 27, Jackson Dep., pp. 110–11; Ex. 28, Baker Dep.,

 pp. 31–32; Ex. 25, Chadwell Dep., pp. 65–66; Ex. 26, Camaj Dep., pp. 133–34.) The

 same is true for the decision-makers. (Ex. 1, Gray Dec., ¶ 21; Ex. 15, Braun Dec., ¶


                                          25
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.794 Filed 01/31/22 Page 39 of 43




 17; Ex. 16, Waineo Dec., ¶ 17.) Nor is there any evidence of “directives from the

 University that encouraged . . . adjudicators to view women’s stories more favorably

 than men’s.” Doe v. Syracuse Univ., 457 F. Supp. 3d 178, 202 (N.D.N.Y. 2020).

 IV.   Eid’s equal protection claim fails for lack of a proper comparator.

       Eid’s equal protection claim fails for the same reason as his Title IX claim.

 Eid must show “that he was treated differently—under the same facts and

 circumstances—than a member of the opposite gender.” Lipian v. Univ. of

 Michigan, 453 F. Supp. 3d 937, 964 (E.D. Mich. 2020). Eid has adduced no evidence

 of proper comparators. See infra, p. 28. See also Zwick v. Regents of Univ. of Mich.,

 No. 06-cv-12639, 2008 WL 1902031, at *8 (E.D. Mich. Apr. 28, 2008). Thus, this

 claim fails.

V.     The University is entitled to summary judgment on Eid’s state-law
       promissory estoppel claim.

       Eid next alleges a state-law promissory claim against the University, claiming

 that “WSU’s various policies constitute representations and promises that WSU

 should have reasonably expected to induce action or forbearance by Plaintiff.”

 (Am.Compl., ECF No. 24, PageID.553.) But courts applying Michigan law have

 repeatedly rejected Eid’s position that student handbooks and other informational

 material published by a university constitute promises that induce reasonable

 reliance. Infra, pp. 18–19. Eid has not identified a specific promise contained in



                                          26
 Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.795 Filed 01/31/22 Page 40 of 43




  “WSU’s various policies” that induced his reasonable reliance. Klein v. HP Pelzer

  Auto. Sys., 854 N.W.2d 521, 530 (Mich. Ct. App. 2014).

VI.      Eid’s fair and just treatment claim fails because the provision does not
         apply to the University and, regardless, Eid was treated fairly.

         Next to last, Eid contends that Defendants violated his rights under the

  Michigan Constitution’s Fair and Just Treatment Clause. That Clause promises that

  “[t]he right of all individuals . . . to fair and just treatment in the course of legislative

  and executive investigations and hearings shall not be infringed.” Mich. Const. 1963

  Art. I, § 17. Eid’s claim fails because the Clause does not apply to the University

  and, regardless, Eid was not mistreated during his professionalism proceedings.17

         The School’s professionalism hearing process does not constitute an

  “executive investigation[ or] hearing[].” Neither the School of Medicine nor Wayne

  State University is an “executive” agency. Rather Wayne State University is an

  “institution of higher education” that is governed by a constitutionally independent

  Board of Governors, which does not answer to the Governor or any other executive

  official. Mich. Const. 1963 Art. VIII, §§ 4, 5; see also id., Art. IV, § 53

  (“[G]overning boards of the institutions of higher education” are “solely responsible



  17
    Under Michigan law, a plaintiff seeking damages under the state constitution must
  sue state officials in their official capacities. Courser v. Allard, 969 F.3d 604, 618
  (6th Cir. 2020). Eid’s claim against the individual defendants in their personal
  capacity fails as a matter of state law. And any claims against the University or
  Defendants in their official capacity are barred by sovereign immunity. Infra, p. 17.
                                               27
  Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.796 Filed 01/31/22 Page 41 of 43




   for the control and direction of all expenditures from the institutions’ funds.”); id.,

   Art. V, § 2 (excluding higher education entities from executive departments).

         Regardless, the record is devoid of facts indicating that Defendants violated

   Eid’s rights. See By Lo Oil Co. v. Dep't of Treasury, 703 N.W.2d 822, 837 (Mich.

   Ct. App. 2005) (Clause “protect[s] against the excesses and abuses of Cold War

   legislative or executive investigations or hearings.”). As recounted above, Eid was

   treated fairly throughout the process and provided far more process than he was due

   under the School’s policies and the Constitution. Infra, pp. 7–15.

VII.     Eid’s emotional distress claim is barred by governmental immunity and
         fails on the facts in any event.

         Eid’s final claim for intentional infliction of emotional distress is barred by

   governmental immunity. See Mays v. Governor, 916 N.W.2d 227 (Mich. Ct. App.

   2018). The individual defendants, who acted in good faith and were exercising

   discretion within the scope of their authority, are also entitled to state-law immunity.

   See infra, pp. 7–15, 26–27. Courser v. Michigan House of Representatives, 831 F.

   App’x 161, 172 (6th Cir. 2020). The claim also fails because there is no evidence

   Defendants engaged in conduct that is “so outrageous in character and so extreme in

   degree as to go beyond all possible bounds of decency and to be regarded as

   atrocious and utterly intolerable in a civilized community.” Linebaugh v. Sheraton

   Michigan Corp, 497 N.W.2d 585, 588 (Mich. Ct. App. 1993).



                                             28
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.797 Filed 01/31/22 Page 42 of 43




                                 CONCLUSION

       For the foregoing reasons, Defendants respectfully request that this Court

 grant summary judgment in their favor.

                                      Respectfully submitted,

                                      KIENBAUM HARDY VIVIANO
                                       PELTON & FORREST, P.L.C.

                                      By: /s/ Elizabeth Hardy
                                          Elizabeth Hardy (P37426)
                                          David Porter (P76785)
                                      Attorneys for Defendant
                                      280 N. Old Woodward Ave., Suite 400
                                      Birmingham, MI 48009
                                      (248) 645-0000
                                      ehardy@khvpf.com
 Dated: January 31, 2022              dporter@khvpf.com




                                          29
Case 2:20-cv-11718-GAD-DRG ECF No. 43, PageID.798 Filed 01/31/22 Page 43 of 43




                            CERTIFICATE OF SERVICE

        I hereby certify that on January 31, 2022, I electronically filed the foregoing
 document with the Clerk of the Court using the ECF system, which will send
 notification of such filing to all ECF participants.

                                               /s/ Elizabeth Hardy
                                               Elizabeth Hardy
                                               Kienbaum Hardy
                                                 Viviano Pelton & Forrest, P.L.C.
                                               280 N. Old Woodward Avenue
                                               Suite 400
                                               Birmingham, MI 48009
                                               (248) 645-0000
                                               E-mail: ehardy@khvpf.com
                                               (P37426)
 437403
